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UN|TED STATES D|STR|CT COURT
WESTERN DlSTR|CT OF LOU|S|ANA

MONROE DlVlSION
RAVEN RCWLAND, NATURAL TUTR|X

OF THE MlNOR CH|LD,
BENJAM|N DAV|S, JR.

ClVlL ACT|ON
NO.

VERSUS JUDGE
AMER|CAN MED|CAL RESPONSE, lNC. MAG|STRATE

JURY DEMAND

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COMPLA|NT FOR REMOVAL
(JURY DEMAND)

NOW |NTO COURT, through undersigned counse|, comes defendant, American
Medical Response, lnc. (“AMR”), who pursuant to 28 U.S.C. §§ 1332 and 1441 (B)
seeks removal of this matter, with full reservation of any and all defenses, objections,
and exceptions, and respectfully avers as follows:

|.

This case arises from plaintist original Petition for Damages (the “Petition”)
entitled “Raven Rowland, Natural Tutrix of the Minor Child, Benjamin Davis, Jr. versus
American Medical Response, Inc.,” filed in the 4th Judicia| District Court for Parish of

Ouachita, State of Louisiana, on June 17, 2013, a copy of which is attached hereto as

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Exhibit 1 and made part of this Comp|aint. ln the Petitionl Raven Row|and as the
natural tutrix of her minor sonl Benjamin Davis, Jr. (“Plaintlff”), sets forth claims for
damages related to the death of the minor’s father, Benjamin Davis, Sr. (the
“Decedent”)l on June 18, 2012 in Monroe, Louisiana. ln the Petition it is alleged that the
death of Benjamin Davis, Sr. was caused by the alleged negligence of AMR, which
responded to a call for an ambulance placed from the Decedent’s residence and
rendered medical assistance to Benjamin Davisl Sr. at his residence. (Petition, 1ls ll, lV,
Vl V|, Vlll, |X, X, and Xl).

ll.

Defendant, AMRl was served with the Petition on June 21, 2013.

lll.

Defendant files this Comp|aint for Removal, duly verified, in this Court within
thirty (30) days after service of the Plaintist suit filed in state court.

|V.

Plaintiff’s petition alleges that plaintiff suffered damages to include the wrongful
death of Benjamin Davis, Sr., the lost opportunity of survival suffered by Benjamin Davis
Sr., pain and suffering of the Decedent, emotional distress and loss of life suffered by
the Decedent, medical expenses due to additional care needed by the Decedent prior to
his death, and loss of consortium and support claim of the Decedent’s minor child,
Benjamin Davis, Jr., as well as the minor’s claim for severe emotional distress, and loss
of quality of life. (Petition at 11 Xl).

V.

lt is facially apparent that the Plaintiff’s wrongful death claim and claims brought

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on behalf of the Decedent satisfy the amount in controversy requirement The Plaintiff’s
allegations alonel taken on their face, establish that the amount in controversy exceeds
the $75,000 jurisdictional requirement for a diversity case. See Menendez v. Wal-Marf
stores, /nc., 364 Fed. Appx. 62, 67 (5"‘ cir. 2010).
Vl.
General damages awarded for wrongful death alone are in excess of $75,000.
See Street v. Louisiana Pac/`Hc Corp. 36,352 (La. App. 2 Cir. 9/18/02); 829 So.2d 450
(decedent’s four minor children were each awarded $100,000 in wrongful death
damages); l/Wkerson v. Kansas City Southem Railway, 33,922 (La. App. 2 Cir.
11/1/00); 772 So.2d 268 (decedent’s three minor children were each awarded $190,000
in wrongful death damages); Baughman v. State Dept. of Transp. and Development,
28,369 (La. App. 2 Cir. 5/8/96); 674 So.2d 1063 (decedent’s minor child was awarded
$300,000 in wrongful death damages).
V|l.
This matter states a claim pursuant to diversity of which the district courts of the
United States have original jurisdiction as specified by 28 U.S.C. §§ 1332 and 1441(B).
Vl||.

Defendant, American Medical Response, lnc., is a foreign corporation, domiciled
in the State of Delaware and has its principle place of business in the State of Colorado.
|X.

The Plaintiff, as set forth in the Petition, is a resident and domiciliary of Monroe,

Ouachita Parish, State of Louisiana.

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X.
Defendant AMR contends that complete diversity exists in this matter,
Xl.

As there is complete diversity in citizenship between plaintiff and defendant, and
because the amount in controversy exceeds $75,000, this court has jurisdiction over
this civil action pursuant to 28 U.S.C. § 1332. Accordingly, this action may be removed
to this Honorable Court pursuant to 28 U.S.C. § 1441.

X|l.

Defendant has good and sufficient defenses to the plaintiffs claims for relief and
disputes all rights to the relief prayed for in the Petition for Damages.

WHEREFORE, defendant, American Medical Response, lnc., prays that this
matter be removed from the 4‘h Judicia| District Court for the Parish of Ouachita, State
of Louisiana, to the United States District Court for the Western District of Louisianal

Monroe Division, and for trial by jury.

Respectfully submitted,

/s/ €/I¢a 7'4!%¢¢ gmi

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CERTIF|CATE OF SERV|CE

l hereby certify that the above and foregoing has been electronically filed with the
Clerk of Court of the United States District Court for the Western District of Louisiana by
using the CM/ECF System, which will send a notice of electronic filing to all counsel of
record in this matter via the electronic filing system.

l further certify that l mailed the forgoing document and notice of electronic filing
by first-class mail to all counsel of record who are not participants in the CM/ECF
system on this 19th day of July, 2013.

/S/ _c,a ma amf
Taylor, Wellons, Po|itz, & Duhe, APLC

